                     Case 1:24-sw-00091-GMH Document 10 Filed 07/05/24 Page 1 of 61
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District of

              In the Matter of the Search of                                  )
         (Briefly describe the property to be searched                        )
          or identify the person by name and address)                         )             Case No. 24-SW-91
    ONE DIGITAL DEVICE CURRENTLY                                              )
    LOCATED AT 601 4TH STREET NW,                                             )
                                                                              )
    WASHINGTON, DC UNDER RULE 41
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):



                                                                          , there is now concealed (identify the




          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  evidence of a crime;
                  contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
          18 U.S.C. §§ 641, 2 (Theft of Government Property, Aiding and Abetting); 18 U.S.C. § 1752(a)(1) (Knowingly Entering or Remaining in any Restricted
          Building or Grounds Without Lawful Authority); 18 U.S.C. § 1752(a)(2) (Disorderly Conduct in a Restricted Building or Grounds); 40 U.S.C. § 5104(e)
          (2)(D) (Disorderly Conduct in a Capitol Building); 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).

          The application is based on these facts:
             See Affidavit in Support of Application for Search Warrant.

               Continued on the attached sheet.
               Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is requested under
               18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                        Applicant’s signature

                                                                                            Justin David Winecoff, Special Agent
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                                      (specify reliable electronic means).


Date:             07/05/2024
                                                                                                           Judge’s signature

City and state:
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AO 93C (      )                                                                Original                    Duplicate Original


                                         UNITED STATES DISTRICT COURT
                                                               for the


                  In the Matter of the Search of                  )
             (Briefly describe the property to be searched        )
              or identify the person by name and address)         )      Case No. 24-SW-91
   ONE DIGITAL DEVICE CURRENTLY                                   )
   LOCATED AT 601 4TH STREET NW,                                  )
   WASHINGTON, DC UNDER RULE 41                                   )


To:        Any authorized law enforcement officer
            An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located                in the
(identify the person or describe the property to be searched and give its location) :

See Attachment A (incorporated by reference).




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B (incorporated by reference).




           YOU ARE COMMANDED to execute this warrant on or before                  July 19, 2024        (not to exceed 14 days)
           in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                  Chief Judge James E. Boasberg              .
                                                                                          (United States          Judge)

        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        for        days (not to exceed 30)     until, the facts justifying, the later specific date of                                 .


Date and time issued:                        July 5, 2024
                                                                                              Judge’s signature

City and state:                    Washington, D.C.
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AO 93   (   )                                            (Page 2)

                                                               Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:
24-SW-91
Inventory made in the presence of :

Inventory of the property taken and name     of any person(s) seized:




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                    Executing officer’s signature


                                                                                       Printed name and title
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                                   ATTACHMENT A

                                  Property to be searched

       The property to be searched is an Apple iPhone 14 Plus in a pink case with the phone

number 631-820-5223, currently in the possession of Federal Bureau of Investigation at its

Washington, D.C. field office.
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                                            ATTACHMENT B

                                        Property to be seized

        1.      The items to be seized are fruits, evidence, information, contraband, or

instrumentalities, in whatever form and however stored, relating to violations of 18 U.S.C. §§ 641,

2 (theft of government property and aiding and abetting theft of government property), 18 U.S.C.

§ 1752(a)(1) (entering or remaining in restricted buildings or grounds), 18 U.S.C. § 1752(a)(2)

(disorderly and disruptive conduct in a restricted building or grounds), 40 U.S.C. § 5104(e)(2)(D)

(disorderly or disruptive conduct in the Capitol Buildings) and 40 U.S.C. § 5104(e)(2)(G)

(parading, demonstrating, or picketing in a Capitol Building) (the “TARGET OFFENSES”) (the

“TARGET OFFENSES”) that have been committed by ISABELLA MARIA DELUCA (“the

Subject”) and other identified and unidentified persons, as described in the search warrant

affidavit, including, but not limited to;

             a. Evidence of the TARGET OFFENSES, including but not limited to: call logs,
                emails, text messages, direct messages, voice mail messages, social media posts,
                communications, photographs, videos, and other writings from November 3, 2020
                to March 31, 2021;

             b. Evidence of any conspiracy, planning, or preparation to commit those offenses;

             c. Evidence of where DELUCA committed the TARGET OFFENSES, traveled to
                before and after the commission of the TARGET OFFENSES, and in preparation
                for the TARGER OFFENSES;

             d. Evidence concerning efforts after the fact to conceal or delete evidence of those
                offenses, or to flee prosecution for the same;

             e. Evidence concerning materials, devices, or tools that were used to unlawfully
                commit the TARGET OFFENSES;

             f. Photographs or video that would constitute evidence of a violation of the TARGET
                OFFENSES;
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  g. Evidence of communication devices used in relation to the TARGET OFFENSES;

  h. Evidence of the state of mind of the subject and/or other co-conspirators, e.g.,
     intent, absence of mistake, or evidence indicating preparation or planning, or
     knowledge and experience, related to the criminal activity under investigation;

  i. Evidence concerning the identity of persons who either (i) collaborated, conspired,
     or assisted (knowingly or unknowingly) the commission of the criminal activity
     under investigation; or (ii) communicated with the unlawful actors about matters
     relating to the criminal activity under investigation, including records that help
     reveal their whereabouts.

  j. Evidence concerning planning to unlawfully enter the U.S. Capitol, including any
     maps or diagrams of the building or its internal offices;

  k. Evidence concerning unlawful entry into the U.S. Capitol, including any property
     of the U.S. Capitol;

  l. Evidence concerning the official proceeding that was to take place at Congress on
     January 6, 2021, i.e., the certification process of the 2020 Presidential Election;

  m. Evidence concerning efforts to obstruct, impede, or disrupt the official proceeding
     that was to take place at Congress on January 6, 2021, i.e., the certification process
     of the 2020 Presidential Election;

  n. Evidence concerning the breach and unlawful entry of the United States Capitol on
     January 6, 2021;

  o. Evidence concerning the riot and/or civil disorder at the United States Capitol on
     January 6, 2021;

  p. Evidence concerning the assaults of federal officers/agents and efforts to impede
     such federal officers/agents in the performance of their duties the United States
     Capitol on January 6, 2021;

  q. Evidence concerning damage to, or theft of, property at the United States Capitol
     on January 6, 2021;

  r. Evidence concerning awareness that the U.S. Capitol was closed to the public on
     January 6, 2021;

  s. Evidence of DELUCA’s presence at the U.S. Capitol on or around January 6, 2021;

  t. Evidence concerning the results of, challenges to, or questions about the legitimacy
     of the 2020 Presidential Election;
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  u. Evidence reflecting communications between DELUCA and other individuals,
     discussing the commission of one or more of the TARGET OFFENSES.

  v. Evidence reflecting the ownership and use of the item identified in Attachment A
     by DELUCA committing the TARGET OFFENSES;

  w. Evidence of who used, owned, or controlled the Device(s) at the time the things
     described in this warrant were created, edited, or deleted, such as logs, registry
     entries, configuration files, saved usernames and passwords, documents, browsing
     history, user profiles, email, email contacts, chat, instant messaging logs,
     photographs, and correspondence;

  x. Evidence of software, or the lack thereof, that would allow others to control the
     Device(s), such as viruses, Trojan horses, and other forms of malicious software,
     as well as evidence of the presence or absence of security software designed to
     detect malicious software;

  y. Evidence of the attachment to the Device(s) of other storage devices or similar
     containers for electronic evidence;

  z. Evidence of counter-forensic programs (and associated data) that are designed to
     eliminate data from the Device(s);

  aa. Evidence of the times the Device(s) was used;

  bb. Passwords, encryption keys, and other access devices that may be necessary to
      access the Device(s);

  cc. Documentation and manuals that may be necessary to access the Device(s) or to
      conduct a forensic examination of the Device(s);

  dd. Records of or information about Internet Protocol addresses used by the Device(s);

  ee. Records of or information about the Device(s)’s Internet activity, including firewall
      logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,
      search terms that the user entered into any Internet search engine, and records of
      user-typed web addresses.
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE                           :
SEARCH OF: ONE DIGITAL                         :
DEVICE CURRENTLY                               :      Case No. 24-SW-91
LOCATED AT 601 4TH STREET                      :
NW, WASHINGTON, DC                             :
UNDER RULE 41                                  :
                                               :


            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                          FOR A WARRANT TO SEARCH

       I, JUSTIN DAVID WINECOFF, being first duly sworn, hereby depose and state as

follows:

                                        INTRODUCTION

       1.       I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the digital device described in Attachment A (the

“TARGET DEVICE”), which is currently in the possession of the Federal Bureau of Investigation

(“FBI”), for the things described in Attachment B.

       2.       Unless otherwise noted, wherever in this affidavit I assert that a statement was

made, that statement is described in substance and is not intended to be a verbatim recitation of

such statement. Wherever in this affidavit I quote statements, those quotations have been taken

from draft transcripts, which are subject to further revision.

       3.       Unless otherwise stated, the conclusions and beliefs I express in this affidavit are

based on my training, experience, and knowledge of the investigation, and reasonable inferences

I have drawn from my training, experience, and knowledge of the investigation.
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                                   AFFIANT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned to

the Washington, D.C. Field Office. I have been in this position for more than seven years. During

that time, I have investigated criminal cases relating to international terrorism, domestic terrorism,

bomb threats, civil disturbances, and riots. In addition to my on-the-job experience, the FBI has

provided me with extensive training in domestic terrorism and the techniques used to investigate

allegations of domestic terrorism. As such, I am an “investigative or law enforcement officer” of

the United States within the meaning of Title 18, United States Code, Section 2510(7), that is, an

officer of the United States who is empowered by law to conduct investigations of, and to make

arrests for, offenses enumerated in Section 2516 of Title 18, United States Code, including the

TARGET OFFENSES defined below.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. §§ 641, 2

(theft of government property and aiding and abetting theft of government property); 18 U.S.C. §

1752(a)(1) (entering or remaining in restricted buildings or grounds); 18 U.S.C. § 1752(a)(2)

(disorderly and disruptive conduct in a restricted building or grounds); 40 U.S.C. § 5104(e)(2)(D)

(disorderly or disruptive conduct in the Capitol Buildings); and 40 U.S.C. § 5104(e)(2)(G)

(parading, demonstrating, or picketing in a Capitol Building) (the “TARGET OFFENSES”) that

                                                  2
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have been committed by Isabella Maria DeLuca (“DELUCA”) and other identified and

unidentified persons, including others who may have been aided and abetted by, or conspiring

with, DELUCA, as well as others observed by DELUCA. There is also probable cause to search

the TARGET DEVICE for the things described in Attachment B.

       6.      The TARGET DEVICE, i.e., the property to be searched, is an Apple iPhone 14

Plus in a pink case with the phone number 631-820-5223. As described below, the TARGET

DEVICE was owned, used, or controlled by DELUCA and seized incident to arrest in Irvine,

California on March 15, 2024. The FBI then transported the TARGET DEVICE to Washington

Field Office, which is the lead office handling the investigation of DELUCA’s conduct on January

6, 2021. The TARGET DEVICE is currently in the possession of the FBI at the Washington Field

Office, 601 4th Street NW, Washington, D.C. 20535.

                                       PROBABLE CAUSE

   A. Background on the Riot at the U.S. Capitol on January 6, 2021

       7.      U.S. Capitol Police (USCP), the FBI, and assisting law enforcement agencies are

investigating a riot and related offenses that occurred on January 6, 2021, at the United States

Capitol Building, located at 1 First Street, NW, Washington, D.C., 20510.

       8.      The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       9.      On the west side of the Capitol building is the West Front, which includes the

inaugural stage scaffolding, a variety of open concrete spaces, two staircases, and multiple terraces.

On the east side of the Capitol is the East Front, which includes three staircases, porticos on both

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the House and Senate side, and two large skylights into the Visitor’s Center surrounded by a

concrete parkway. All of this area was barricaded and closed to members of the public on January

6, 2021.

       10.     On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol. During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting to certify the vote count of the Electoral

College of the 2020 Presidential Election, which took place on November 3, 2020

(“Certification”). The joint session began at approximately 1:00 p.m. Eastern Standard Time 1 in

the House of Representatives. Shortly thereafter, by approximately 1:30 p.m., the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       11.     The grounds around the Capitol were posted and cordoned off, and the entire area

as well as the Capitol building itself were restricted as that term is used in Title 18, United States

Code, Section 1752 due to the fact that the Vice President and the immediate family of the Vice

President, among others, would be visiting and did visit the Capitol complex that day.

       12.     At around 1:00 p.m., individuals broke through the police lines, toppled the outside

barricades protecting the U.S. Capitol, and pushed past USCP and supporting law enforcement

officers there to protect the U.S. Capitol. As a result of these and other similar actions by the

crowd, the situation at the Capitol became a civil disorder as that term is used in Title 18, United



1
 All times stated in this affidavit are in Eastern Standard Time or Eastern Daylight Time unless
otherwise noted.


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States Code, Section 231. The civil disorder obstructed the ability of the U.S. Secret Service to

perform the federally protected function of protecting Vice President Pence.

       13.     As they advanced unlawfully onto Capitol grounds and towards the U.S. Capitol

building over the next several hours, individuals in the crowd destroyed barricades and metal

fencing and assaulted law enforcement officers with fists, poles, thrown objects, and chemical

irritant sprays, among other things. Individuals in the crowd carried weapons including tire irons,

sledgehammers, bear spray, and tasers, some of which were also used to assault members of law

enforcement. A number of individuals in the crowd wore tactical vests, helmets, and respirators.

       14.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. At such time, the certification proceedings were still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured.

       15.     Beginning shortly after 2:00 p.m., individuals in the crowd forced entry into the

U.S. Capitol, including by breaking windows and by assaulting members of law enforcement.

       16.     Once inside, certain of the unlawful entrants destroyed property, stole property, and

assaulted federal police officers.

       17.     Between approximately 2:10 p.m., and 2:30 p.m., Vice President Pence evacuated

the Senate Chamber, and the Senate and House of Representatives went into recess. Unlawful

entrants into the U.S. Capitol building attempted to break into the House chamber by breaking the

windows on the chamber door. Law enforcement officers inside the House of Representatives drew

their weapons to protect members of the House of Representatives who were stuck inside. Both

the Senate and the House of Representatives Chamber were eventually evacuated.

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       18.     At around 2:47 p.m., subjects broke into the Senate Chamber not long after it had

been evacuated.

       19.     At around 2:48 p.m., DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m. Mayor Bowser’s order imposing a curfew in the District of Columbia

impacted interstate commerce. For example, grocery store Safeway closed all 12 of its stores in

the District of Columbia as of 4 p.m. that day, and Safeway’s stores were supposed to close at 11

p.m.

       20.     At about 3:25 p.m., law enforcement officers cleared the Senate floor. Between

3:25 and around 6:30 p.m., law enforcement was able to clear the U.S. Capitol of all of the subjects.

       21.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening, the joint

session could not resume until after every unauthorized occupant had left the U.S. Capitol, and the

building had been confirmed secured. The proceedings resumed at approximately 8:00 pm after

the building had been secured. Vice President Pence remained in the United States Capitol

throughout the events, including during the time he was evacuated from the Senate Chamber until

the joint session concluded at approximately 3:44 a.m. on January 7, 2021.

       22.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

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         23.   Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to allow individuals to capture photographs and video footage of the gatherings, to communicate

with other individuals about the gatherings, to coordinate with other participants at the gatherings,

and to post on social media and digital forums about the gatherings.

         24.   Many subjects seen on news footage in the area of the U.S. Capitol were using a

cell phone in some capacity. It appears some subjects were recording the events occurring in and

around the U.S. Capitol and others appear to be taking photos, to include photos and video of

themselves after breaking into the U.S. Capitol itself, including photos of themselves damaging

and stealing property. As reported in the news media, others inside and immediately outside the

U.S. Capitol live-streamed their activities, including those described above as well as statements

about these activities.

   B. Probable Cause Regarding the TARGET OFFENSES

         25.   On January 9, 2021, the FBI received an online tip identifying DELUCA as a

possible suspect who participated in the January 6, 2021 riot at the U.S. Capitol. The tipster alleged

that DELUCA deleted social media posts about being at the U.S. Capitol on January 6.

         26.   After receiving the tip, the FBI telephonically interviewed DELUCA on January

21, 2021. DELUCA admitted to the FBI that she was present at the U.S. Capitol on January 6,

2021, but she claimed that she never entered the U.S. Capitol building. DELUCA further explained

that she went to the U.S. Capitol with some friends, but they were eventually separated from each

other.

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       27.    The FBI also telephonically interviewed DELUCA’s mother on January 21, 2021.

According to DELUCA’s mother, DELUCA went to the U.S. Capitol with some friends, but

DELUCA did not go inside the U.S. Capitol building. DELUCA’s mother further stated that she

viewed DELUCA’s live feed Instagram video and saw DELUCA standing outside the U.S.

Capitol.

       28.    Based on the above, the FBI opened an investigation of DELUCA. According to

subpoenaed bank records, DELUCA made several purchases in the Washington D.C. area between

January 5, 2021 and January 8, 2021. On January 5, 2021, DELUCA incurred a $108.00 charge

from Amtrak that noted “Orig: NYP, Dest: WAS.” These codes indicate her trip originated at New

York Penn Station in New York, New York, and her destination was Union Station in Washington,

D.C. Records subpoenaed from Amtrak confirmed that DELUCA traveled from New York City

to Washington, D.C. on January 5.

       29.    On January 6, 2021, DELUCA incurred a charge of $160.86 from the Kimpton

Lorien Hotel, which is located at 1600 King Street, Alexandria, Virginia. Records subpoenaed

from the Kimpton Lorien Hotel confirmed that DELUCA checked in on January 6, 2021 and

checked out on January 8, 2021. On January 6, 2021, DELUCA also incurred a charge from

Dunkin Donuts Store No. 350957 located at 1101 14th Street NW in Washington, D.C., which is

approximately 1.9 miles from the U.S. Capitol. She also incurred a charge from CVS Pharmacy

Store No. 1334 located at 717 14th Street NW in Washington, D.C., which is approximately 1.5

miles from the U.S. Capitol.

       30.    During its investigation, the FBI lawfully obtained a search warrant for DELUCA’s

Instagram accounts on July 13, 2022. Subscriber records from Instagram indicate that the account

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with username isabellamdeluca is subscribed to by DELUCA. On the evening of January 5, 2021,

DELUCA’s Amtrak train broke down near Baltimore, Maryland. DELUCA messaged others on

Instagram, “My train isn’t working” and “I need a ride to dc.” She also posted the following

Instagram story. DELUCA’s Instagram messages suggest that she eventually received a ride to

Alexandria, where the Kimpton Lorien Hotel is located, in the early morning hours of January 6,

2021.




                                           Image 1




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        31.    At 2:55 p.m. EST on January 6, 2021, DELUCA replied to a Twitter post saying,

“Fight back or let politicians steal and election? Fight back!” 2




                                              Image 2


        32.    Shortly thereafter, at 3:20 p.m. EST, an Instagram user messaged DELUCA, “I’m

walking to the Capitol!” A few minutes later, DELUCA responded, “Okay! I’m going to head

there now.” DELUCA later messaged the same person, “I’m here,” at approximately 3:46 p.m.

EST.

        33.    Video identified from U.S. Capitol Police CCTV surveillance footage and open-

source video footage place a woman matching DELUCA’s appearance inside and around the U.S.

Capitol on January 6, 2021. In all photographs and videos, DELUCA is wearing a brown jacket,

black pants, white shoes, and at times is wearing a red, white, and blue neck gaiter partially

covering her face.



2
    The FBI also lawfully obtained a search warrant for DELUCA’s Twitter (now X) account on
    July 13, 2022. Subscriber records from Twitter indicate that the account with username
    @IsabellaMDeluca is subscribed to by DELUCA. A further review of DELUCA’s Twitter
    account revealed that there were no tweets (as opposed to replies and direct messages) between
    January 3, 2021 and January 10, 2021.



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        34.     Based on your affiant’s review of video evidence, DELUCA can be seen (1) within

the restricted area around the U.S. Capitol; (2) recording video and/or taking photographs within

the restricted area; (3) entering Senate Terrace Room 2 Mezzanine (“ST-2M”) through a broken

window on the Lower West Terrace of the U.S. Capitol; and (4) removing, and aiding and abetting

other rioters in removing, a table from ST-2M and passing it to rioters outside through another

broken window. This table was subsequently used to assault law enforcements officers guarding

the Lower West Terrace Tunnel (the “Tunnel”) as described below. 3

        35.     Around 4:24 p.m. EST, CCTV surveillance footage captured DELUCA, circled in

yellow, within the restricted area on the temporary inaugural platform constructed on the Lower

West Terrace of the U.S. Capitol, as depicted in Image 3 below. In this Image, DELUCA appeared

to cover her face from tear gas blowing in the wind. She remained in this area for several minutes

and appeared to be using her cell phone, as shown in Image 4 below.




3
    The Tunnel was a corridor entryway that led into the U.S. Capitol. After the police perimeter
    was breached on the West Plaza of the U.S. Capitol, many law enforcement officers retreated
    into the Tunnel to regroup. However, rioters streamed into the Tunnel in large numbers where
    they began to fight the police in an attempt to enter the U.S. Capitol. A group of officers using
    their bodies to barricade the entrance constituted the only barrier between the rioters in the
    Tunnel and entry into the Capitol building. Some of the most vicious assaults on law
    enforcement on January 6, 2021 occurred in the area by the Tunnel.




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                            Image 3




                              12
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                                             Image 4


       36.     From there, Deluca continued to descend the inaugural platform. Around 4:30 p.m.

EST, DELUCA arrived in an area near the Tunnel and outside of ST-2M, which is directly to the

left of the Tunnel (as one faces the Tunnel). Image 5 below is a screenshot from an open-source

video showing DELUCA using her cell phone to record video and/or take photographs outside of

ST-2M. ST-2M is one of a suite of conference rooms available for members of congress and their

staffs. Although ST-2M was unoccupied on January 6, 2021, it is considered a sensitive location

that is not open to members of the public.




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                                              Image 5


       37.     Images 6 and 7 below are also screenshots from open-source videos. DELUCA

continued to record video and/or take photographs outside of ST-2M, witnessing rioters inside the

room steal pieces of furniture, including a lamp and a chair, and passing them to the rioters outside.




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                            Image 6




                            Image 7


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       38.     DELUCA then entered ST-2M through one of the lower windows that had been

broken by rioters, as shown in Image 8 below.




                                             Image 8


       39.     Approximately 90 seconds after entering ST-2M, DELUCA passed, and assisted

other rioters in passing, a table out of one of the broken windows, as depicted in Image 9 below.




                                                16
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                                            Image 9


       40.    After DELUCA passed the table out of the window, DELUCA appeared to use her

cell phone to record video and/or take photographs of the scene, as shown in Image 10 below. At

the same time, rioters passed the table in the direction of the Tunnel, where it was subsequently

used as a weapon against law enforcement officers.




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                                           Image 10


       41.    About two-and-a-half minutes after entering, DELUCA exited ST-2M through the

same broken window through which she passed the table, as depicted in Image 11 below. As

DELUCA was climbing out of the window, the rioter dressed in all black with a neck tattoo used

a baseball bat to smash the adjacent window. During her exit, DELUCA appeared to drop her cell

phone and another rioter picked it up and passed it to her, as shown in Image 12 below.




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                           Image 11




                           Image 12



                              19
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       42.    While inside ST-2M, DELUCA witnessed a chaotic scene with overturned and

broken furniture thrown about the room haphazardly. Image 13 below is a screenshot from a cell

phone video taken inside ST-2M around the same time DELUCA was there. Later in the same

video, DELUCA can be seen standing on the ledge outside the ST-2M windows.




                                          Image 13




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       43.    Image 14 is a screenshot from an open-source video. DELUCA, with the neck gaiter

partially covering her face, remained on the ledge outside ST-2M for approximately the next two

minutes. At one point, DELUCA appeared to be observing the chaos at the mouth of the Tunnel,

including the rioters passing a long wooden beam towards the mouth of the Tunnel, as shown in

Image 15.




                                          Image 14




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                                             Image 15


       44.      Around 4:45 p.m. EST, several minutes after DELUCA exited ST-2M, another

rioter, Timothy Desjardins, circled in yellow in Image 16 below, picked up a wooden table leg in

front of the Tunnel and used that leg to assault law enforcements officers. Simultaneously, another

rioter picked up a table, circled in red, from the same location in front of the Tunnel. That rioter

proceeded to throw the table at the officers in the Tunnel, as shown in Images 17 through 19 below.

The table bears a strong resemblance to the table that DELUCA passed out of the window in Image

9 above, sharing the same design on the apron. But the table legs were broken off at some point

in the melee.

       45.      Your affiant has reviewed correspondence and business records from the U.S.

Senate Sergeant at Arms, which valued the replacement cost of the coffee table taken from ST-2M

at approximately $637.96.

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                           Image 16




                           Image 17




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                           Image 18




                           Image 19




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       46.     Later that same day, at 5:53 p.m. EST, DELUCA messaged an acquaintance on

Instagram, “It’s insanity here” and “I got maced and had a sound bomb go off right next to me.”

       47.     Over the next several days, DELUCA continued to post on social media about the

riot at the U.S. Capitol. In the early morning hours of January 7, 2021, an Instagram user messaged

DELUCA, “I’m wondering why you support the breaking into the capitol.” DELUCA responded,

“According to the constitution it’s our house.”

       48.     On January 8, 2021, DELUCA commented on a post on Instagram: “I got maced

pretty bad about three times, and on top of that it was extremely windy, so it was blowing

everywhere. While I do believe some people were placed there to cause chaos I don’t believe that

people were faking being maced. Even if they were not directly hit, the wind was carrying it and

affecting everyone.” Several minutes later, DELUCA commented a second time saying, “I used

milk to get the mace/tear gas out of my eyes. I’ve heard for some people holding onions near their

eyes and nose can protect them from the tear gas. I’m not 100% sure tbh.”

       49.     On January 14, 2021, DELUCA issued a lengthy statement on social media about

January 6. Among other things, DELUCA stated: “I was there on Jan. 6. I have mixed feelings.

People went to the Capitol building because that’s Our House and that’s where we go to take our

grievances. People feel, as do I that an election was stolen from them and it was allowed.”

       50.     On January 15, 2021, in an Instagram message, DELUCA suggested that the former

president should declare martial law and overturn the election: “So it talks about how to save the

election with all the fraud that’s happened. I can see from the notes that he suggests martial law.

If Trump declares martial law in 7 states, his campaign allies could take control of the state’s

ballots & overturn the results of the election in Trump’s favor. Which would be ideal.”

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       51.     DELUCA also acknowledged deleting Instagram posts from her profile in the

immediate aftermath of January 6. On January 9, 2021, an acquaintance messaged DELUCA on

Instagram, “Not sure if this is right but your profile shows only 9 posts.” DELUCA replied, “Yes

I deleted a lot of my posts.” Further review of DELUCA’s Instagram profile revealed there were

no posts (as opposed to direct messages) between November 27, 2020 and January 11, 2021. Based

on my knowledge, training, and experience, people who commit criminal acts will often delete

information about those acts from social media accounts in an attempt to thwart any subsequent

criminal investigation.

       52.     More recently, on December 5, 2023, your affiant interviewed employees of the

apartment building located at 1205 Half Street SE, Washington, D.C. 20003, where DELUCA

currently resides. Your affiant showed one of the employees a photograph of DELUCA from her

Instagram account, and the employee positively identified the person in the photograph as

DELUCA. Your affiant then provided the same employee, who regularly sees DELUCA at the

apartment building, with six photographs of DELUCA at the U.S. Capitol on January 6, 2021. The

employee positively identified DELUCA in each of the six photographs. Additionally, through my

own investigation, including reviewing DELUCA’s driver’s license photo, DELUCA appears to

be the same person in the screenshots above and other video footage collected on January 6, 2021.

       53.     On February 28, 2024, U.S. Magistrate Judge Robin M. Meriweather of the U.S.

District Court for the District of Columbia found probable cause that DELUCA committed the

TARGET OFFENSES and issued a warrant for DELUCA’s arrest. See United States v. DeLuca,

24-cr-169 (D.D.C.), ECF No. 1.



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       54.     On February 28, 2024, Judge Meriweather also signed a Rule 41 search warrant for

DELUCA’s person and apartment in Washington, D.C., including any digital devices containing

evidence of the TARGET OFFENSES. Law enforcement subsequently determined, however, that

DELUCA was staying with another individual in Irvine, California. While law enforcement

investigated DELUCA’s whereabouts, the search warrant expired on March 12, 2024. The

government re-submitted the search warrant with minor amendments and Judge Meriweather re-

issued it on March 13, 2024.

       55.     On March 15, 2024, the FBI executed the search warrant at DELUCA’s apartment,

seizing two Apple iPhones (but not the TARGET DEVICE) which will be searched according to

the protocol outlined in the search warrant.

   C. Seizure of the TARGET DEVICE

       56.     To locate and arrest DELUCA, on March 1, 2024, the FBI obtained a search warrant

for historical and prospective cell site location information on the TARGET DEVICE. The returns

from T-Mobile revealed that DELUCA was in Irvine, California from on or about February 5,

2024 to February 6, 2024, when DELUCA returned to Washington, D.C. The data indicates that

DELUCA traveled to the Irvine, California again on or around February 16, 2024.

       57.     The FBI learned from American Airlines that DELUCA flew from Los Angeles

International Airport (“LAX”) to Ronald Reagan Washington National Airport (“DCA”) on

February 6, 2024. DELUCA then traveled from DCA to LAX on February 16, 2024.

       58.     The FBI also learned that an individual named JARED JOSEPH JENNINGS

(“JENNINGS”) booked travel through American Airlines with DELUCA, flying from John



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Wayne Airport (“SNA”) to Phoenix Sky Harbor International Airport (“PHX”) departing April 13,

2024 and returning April 13, 2024.

       59.     Based on additional investigation, the FBI discovered that JENNINGS resides at

4302 Molino Irvine, California 92618, a multi-story apartment building, and has resided there for

the last several years. JENNINGS used this address when booking the travel to Phoenix, Arizona

through American Airlines. Law enforcement officers conducted a spot check on March 10, 2024,

and saw JENNINGS at the apartment building.

       60.     Cell site location information from March 6, 2024 suggested that DELUCA

traveled to Target Store T2128 located at 900 Spectrum Center Drive, Irvine, California 92618,

which is approximately 1.2 miles from JENNINGS’ residence. The FBI reviewed surveillance

footage from the store and observed DELUCA shopping there on March 6 around 7:33 p.m. PST.

       61.     On March 12, 2024, law enforcement agents again observed DELUCA shopping at

the same Target store. They also observed her departing JENNINGS’ residence in the morning

and returning there later in the afternoon.

       62.     Upon learning that DELUCA was staying with JENNINGS in California, the FBI

planned to arrest DELUCA at the apartment on March 15, 2024. The plan included seizing any

digital devices incident to arrest and transporting them back to Washington, D.C.

       63.     The government nonetheless decided, out of an abundance of caution, to obtain a

search warrant for the TARGET DEVICE in the Central District of California. The government

also sought warrants to search DELUCA’s person and to search the premises where DELUCA was

staying in the event she was arrested and left the TARGET DEVICE in the apartment. Those search

warrants were substantially similar to the warrants submitted to, and signed by, Judge Meriweather

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on February 28 and March 13. The only material difference was additional information on

DELUCA’s travel to, and location in, California.

       64.     On March 14, 2024, U.S. Magistrate Judge Autumn Spaeth of the U.S. District

Court for the Central District of California denied the search warrants in their entirety. Magistrate

Judge Spaeth later issued a memorandum decision on March 27, 2024 denying the search warrants,

including a warrant for the Target Device

       65.     Based on operational concerns, the FBI arrested DELUCA on March 15, 2024, in

a common area of the apartment building as she was retrieving a package. The TARGET DEVICE

was seized incident to arrest and transported to FBI’s Washington Field Office, where it is

currently stored.

   D. Probable Cause that Evidence of the TARGET OFFENSES Will be Found on the
      TARGET DEVICE

       66.     As described above, the amount of recording and photography that DELUCA

appeared to do using a cell phone while inside the U.S. Capitol indicates a high likelihood that this

information is still stored on the cellular device and/or other electronic devices owned by

DELUCA. DELUCA appeared to take photos or record videos multiple times while at the U.S.

Capitol on January 6, 2021. Accordingly, there is probable cause to believe that this evidence was

on her cell phone and is likely to still be contained in her cell phone.

       67.     Based on the investigation, numerous persons committing the TARGET

OFFENSES, including DELUCA, possessed digital devices to communicate with other

individuals to plan their attendance in Washington D.C. on January 6, 2021, to coordinate with

other participants at the gatherings there that day, and to communicate and post on social media


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and digital forums about the events of January 6 after they occurred. As described above, the FBI’s

investigation confirmed that DELUCA used social media, including Instagram and Twitter, to

communicate with others about travel to Washington, D.C., and the events at the U.S. Capitol on

January 6, 2021.

       68.     Based on a search of open-source records, the FBI discovered that DELUCA’s cell

phone number may have been XXX-XXX-5834 (the “5834 Number”) around the time of January

6, 2021. During the investigation, the FBI lawfully obtained a search warrant from T-Mobile U.S.,

Inc. for the 5834 Number. The account for the 5834 Number was active on January 6, 2021, and

registered to DELUCA’s mother. Based on call records, DELUCA appeared to have used the 5834

Number as her cell phone with International Mobile Equipment Identity (“IMEI”)

352856110067440. In the early morning hours of January 6, 2021, the 5834 Number made calls

originating from Baltimore, Maryland, which is consistent with DELUCA’s travel itinerary and

social media communications described above. During the day on January 6, 2021, the 5834

Number made and received several calls originating from Alexandria, Virginia, where DELUCA’s

hotel was located, and from several locations in Washington, D.C. near the U.S. Capitol. Instagram

messages from DELUCA in January 2021 also confirm that she used the 5834 Number. According

to records subpoenaed from T-Mobile, the account associated with the 5834 Number was

subsequently terminated on February 8, 2021.

       69.     Since February 2021, DELUCA’s cell phone number has been the “5223 Number.”

According to search warrant returns from Twitter, as of June 2022, DELUCA’s Twitter account

was associated with an Apple iPhone under the 5223 Number. Moreover, according to search

warrant returns from Instagram, DELUCA’s Instagram account was associated with an Apple

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iPhone under the 5223 Number. DELUCA also verified her Instagram account using the 5223

Number, meaning that the account holder responded to a text sent to the registered phone number.

DELUCA’s application to move into her apartment in Washington, D.C. also listed the 5223

Number under DELUCA’s contact information.

       70.     Records recently subpoenaed from T-Mobile U.S., Inc. confirm that the 5223

Number is registered to DELUCA’s mother and is still active. Beginning in or around October

2023, the 5223 Number was an Apple iPhone 14 Plus, matching the TARGET DEVICE.

       71.     As described above, there is evidence that DELUCA possessed a mobile digital

device while at the U.S. Capitol on January 6, 2021, using that device to record video and/or take

photographs. There is also evidence that DELUCA used social media on that device, including

Instagram and Twitter, to communicate with others about travel to Washington, D.C., and the

events at the U.S. Capitol on January 6, 2021.

       72.     Based on my training and experience, I also know that some individuals who

participated in the TARGET OFFENSES have been known to use anonymizing services and/or

applications capable of encrypting communications to protect their identity and communications.

By using such tools, in some cases, the only way to see the content of these conversations is on

the electronic device that had been used to send or receive the communications.

       73.     Based on my training and experience, I know that when individuals acquire new

cell phones, they commonly transfer data from their previous phone, including contact

information, text messages, and photographs. It is common for individuals to back up or preserve

copies of digital media (such as photos and videos) across multiple devices to prevent loss. Indeed,



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some companies provide services that seamlessly sync data across devices, such as the Apple

iCloud service.

       74.     The FBI recovered two Apple iPhones at the defendant’s apartment in Washington,

D.C.—one of which is likely the phone the defendant possessed on January 6, 2021 4—further

suggesting the routine capability to transfer data across Apple devices, including the TARGET

DEVICE.

       75.     Based on financial records, DELUCA pays for Apple iCloud storage. Moreover,

based on records obtained from Apple Inc., DELUCA has possessed an Apple iCloud account

since May 2018, to which she has registered several devices, including an Apple iPhone 14 Plus,

matching the TARGET DEVICE. This cloud storage would allow her to transfer data seamlessly

from one Apple device to another, including the TARGET DEVICE. Accordingly, there is reason

to believe that evidence of the TARGET OFFENSES that originally resided on DELUCA’s cell

phone may also be saved to the TARGET DEVICE.

       76.     Finally, your affiant understands that hundreds of people have been arrested in

connection to the riot that occurred at the U.S. Capitol on January 6, 2021. During searches of

many those people’s homes, from early 2021 through present, in multiple jurisdictions, law



4
  One of the phones recovered is an Apple iPhone SE. The other phone recovered is an Apple
iPhone in a pink case, but it is too badly damaged to be charged or powered on. This is likely the
iPhone the defendant possessed on January 6, 2021, because it appears to be the same phone in a
pink case that the defendant can be seen using in the footage and photographs reproduced above.
See Images 5, 6, 7, 10, and 12.




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enforcement has recovered clothing, paraphernalia, tools, and digital devices that were worn, used,

or carried on January 6, 2021.

       77.     For example, as recently as May 15, 2024, a search warrant executed in the

Northern District of New York discovered distinctive clothing worn on January 6 along with a

newer cell phone that contained an image and text messages relating to January 6. On July 28,

2023, a search of a defendant’s phone in the Southern District of Ohio yielded pictures and text

messages pertaining to January 6, 2021. On October 9, 2023, a search warrant executed in the

Western District of Wisconsin recovered clothing and gear worn by a defendant on January 6,

2021, including a ballistic vest and helmet, as well as a handwritten note about defecating in Nancy

Pelosi’s office, and a phone, camera, and computer hard drive. In the Eastern District of Missouri,

officers executed a search warrant on October 30, 2023, recovering cell phones and a laptop

containing text messages and other written material that established the defendant’s conduct at the

U.S. Capitol on January 6, 2021, which included assaulting police officers. On December 13, 2023,

a search in the Northern District of West Virginia yielded two phones linked to January 6, 2021.

In the Eastern District of California, a search warrant executed on December 15, 2023 recovered

a cell phone with pictures and videos taken by the defendant was at the U.S. Capitol on January 6,

2021. On December 20, 2023, in the Western District of Washington, law enforcement officers

seized a defendant’s cell phone containing text messages and images from January 6, 2021. In the

Southern District of Ohio, law enforcement executed a search warrant on March 5, 2024,

recovering a cell phone containing photographs from January 6. On April 25, 2024, a search

warrant executed in the Eastern District of Louisiana uncovered a flag stolen from the Capitol on



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January 6 along with the cell phone the defendant used on January 6. Searches continue to provide

evidence of the offense conduct on that day.

                                    TECHNICAL TERMS

       78.    Based on my training and experience, and information acquired from other law

enforcement officials with technical expertise, I know the terms described below have the

following meanings or characteristics:

              a. “Digital device,” as used herein, includes the following three terms and their

                  respective definitions:

              b. A “computer” means an electronic, magnetic, optical, or other high speed data

                  processing device performing logical or storage functions, and includes any

                  data storage facility or communications facility directly related to or operating

                  in conjunction with such device. See 18 U.S.C. § 1030(e)(1). Computers are

                  physical units of equipment that perform information processing using a binary

                  system to represent information. Computers include, but are not limited to,

                  desktop and laptop computers, smartphones, tablets, smartwatches, and binary

                  data processing units used in the operation of other products like automobiles.

              c. “Digital storage media,” as used herein, means any information storage device

                  in which information is preserved in binary form and includes electrical, optical,

                  and magnetic digital storage devices. Examples of digital storage media

                  include, but are not limited to, compact disks, digital versatile disks (“DVDs”),

                  USB flash drives, flash memory cards, and internal and external hard drives.

              d. “Computer hardware” means all equipment that can receive, capture, collect,

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        analyze, create, display, convert, store, conceal, or transmit electronic,

        magnetic, or similar computer impulses or data. Computer hardware includes

        any data-processing devices (including, but not limited to, central processing

        units, internal and peripheral storage devices such as fixed disks, external hard

        drives, floppy disk drives and diskettes, and other memory storage devices);

        peripheral input/output devices (including, but not limited to, keyboards,

        printers, video display monitors, modems, routers, scanners, and related

        communications devices such as cables and connections), as well as any

        devices, mechanisms, or parts that can be used to restrict access to computer

        hardware (including, but not limited to, physical keys and locks).

     e. “Wireless telephone” (or mobile telephone, or cellular telephone), a type of

        digital device, is a handheld wireless device used for voice and data

        communication at least in part through radio signals and also often through “wi-

        fi” networks. When communicating via radio signals, these telephones send

        signals through networks of transmitters/receivers, enabling communication

        with other wireless telephones, traditional “land line” telephones, computers,

        and other digital devices. A wireless telephone usually contains a “call log,”

        which records the telephone number, date, and time of calls made to and from

        the phone. In addition to enabling voice communications, wireless telephones

        offer a broad range of applications and capabilities. These include, variously:

        storing names and phone numbers in electronic “address books”; sending,

        receiving, and storing text messages, e-mail, and other forms of messaging;

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        taking, sending, receiving, and storing still photographs and video; storing and

        playing back audio files; storing dates, appointments, and other information on

        personal calendars; utilizing global positioning system (“GPS”) locating and

        tracking technology, and accessing and downloading information from the

        Internet.

     f. A “tablet” is a mobile computer, typically larger than a wireless phone yet

        smaller than a notebook, that is primarily operated by touch-screen. Like

        wireless phones, tablets function as wireless communication devices and can be

        used to access the Internet or other wired or wireless devices through cellular

        networks, “wi-fi” networks, or otherwise. Tablets typically contain programs

        called applications (“apps”), which, like programs on both wireless phones, as

        described above, and personal computers, perform many different functions and

        save data associated with those functions.

     g. A “GPS” navigation device, including certain wireless phones and tablets, uses

        the Global Positioning System (generally abbreviated “GPS”) to display its

        current location, and often retains records of its historical locations. Some GPS

        navigation devices can give a user driving or walking directions to another

        location, and may contain records of the addresses or locations involved in such

        historical navigation. The GPS consists of 24 NAVSTAR satellites orbiting the

        Earth. Each satellite contains an extremely accurate clock. Each satellite

        repeatedly transmits by radio a mathematical representation of the current time,

        combined with a special sequence of numbers. These signals are sent by radio,

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        using specifications that are publicly available. A GPS antenna on Earth can

        receive those signals. When a GPS antenna receives signals from at least four

        satellites, a computer connected to that antenna can mathematically calculate

        the antenna’s latitude, longitude, and sometimes altitude with a high level of

        precision.

     h. “Computer passwords and data security devices” means information or items

        designed to restrict access to or hide computer software, documentation, or data.

        Data security devices may consist of hardware, software, or other programming

        code. A password (a string of alpha-numeric characters) usually operates as a

        digital key to “unlock” particular data security devices. Data security hardware

        may include encryption devices, chips, and circuit boards. Data security

        software of digital code may include programming code that creates “test” keys

        or “hot” keys, which perform certain pre-set security functions when touched.

        Data security software or code may also encrypt, compress, hide, or “booby-

        trap” protected data to make it inaccessible or unusable, as well as reverse the

        progress to restore it.

     i. “Computer software” means digital information which can be interpreted by a

        computer and any of its related components to direct the way they work.

        Computer software is stored in electronic, magnetic, or other digital form. It

        commonly includes programs to run operating systems, applications, and

        utilities.

     j. Internet Protocol (“IP”) Address is a unique numeric address used by digital

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        devices on the Internet. An IP address, for present purposes, looks like a series

        of four numbers, each in the range 0-255, separated by periods (e.g.,

        149.101.1.32). Every computer attached to the Internet must be assigned an IP

        address so that Internet traffic sent from and directed to that computer may be

        directed properly from its source to its destination. Most Internet service

        providers control a range of IP addresses. Some computers have static—that is,

        long-term—IP addresses, while other computers have dynamic—that is,

        frequently changed—IP addresses.

     k. The “Internet” is a global network of computers and other electronic devices

        that communicate with each other using numerous specified protocols. Due to

        the structure of the Internet, connections between devices on the Internet often

        cross state and international borders, even when the devices communicating

        with each other are in the same state.

     l. “Internet Service Providers,” or “ISPs,” are entities that provide individuals and

        businesses access to the Internet. ISPs provide a range of functions for their

        customers, including access to the Internet, web hosting, e-mail, remote storage,

        and co-location of computers and other communications equipment. ISPs can

        offer a range of options in providing access to the Internet, including via

        telephone-based dial-up and broadband access via digital subscriber line

        (“DSL”), cable, dedicated circuits, fiber-optic, or satellite. ISPs typically charge

        a fee based upon the type of connection and volume of data, called bandwidth,

        which the connection supports. Many ISPs assign each subscriber an account

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        name, a user name or screen name, an e-mail address, an e-mail mailbox, and a

        personal password selected by the subscriber. By using a modem, the subscriber

        can establish communication with an ISP and access the Internet by using his

        or her account name and password.

     m. A “modem” translates signals for physical transmission to and from the ISP,

        which then sends and receives the information to and from other computers

        connected to the Internet.

     n. A “router” often serves as a wireless Internet access point for a single or

        multiple devices, and directs traffic between computers connected to a network

        (whether by wire or wirelessly). A router connected to the Internet collects

        traffic bound for the Internet from its client machines and sends out requests on

        their behalf. The router also distributes to the relevant client inbound traffic

        arriving from the Internet. A router usually retains logs for any devices using

        that router for Internet connectivity. Routers, in turn, are typically connected to

        a modem.

     o. “Domain Name” means the common, easy-to-remember names associated with

        an IP address. For example, a domain name of “www.usdoj.gov” refers to the

        IP address of 149.101.1.32. Domain names are typically strings of

        alphanumeric characters, with each level delimited by a period. Each level, read

        backwards – from right to left – further identifies parts of an organization.

        Examples of first-level, or top-level domains are typically .com for commercial

        organizations, .gov for the governmental organizations, .org for organizations,

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        and .edu for educational organizations. Second-level names will further identify

        the organization, for example usdoj.gov further identifies the United States

        governmental agency to be the Department of Justice. Additional levels may

        exist as needed until each machine is uniquely identifiable. For example,

        www.usdoj.gov identifies the World Wide Web server located at the United

        States Department of Justice, which is part of the United States government.

     p. “Cache” means the text, image, and graphic files sent to and temporarily stored

        by a user’s computer from a website accessed by the user in order to allow the

        user speedier access to and interaction with that website in the future.

     q. “Peer to Peer file sharing” (P2P) is a method of communication available to

        Internet users through the use of special software, which may be downloaded

        from the Internet. In general, P2P software allows a user to share files on a

        computer with other computer users running compatible P2P software. A user

        may obtain files by opening the P2P software on the user’s computer and

        searching for files that are currently being shared on the network. A P2P file

        transfer is assisted by reference to the IP addresses of computers on the network:

        an IP address identifies the location of each P2P computer and makes it possible

        for data to be transferred between computers. One aspect of P2P file sharing is

        that multiple files may be downloaded at the same time. Another aspect of P2P

        file sharing is that, when downloading a file, portions of that file may come

        from multiple other users on the network to facilitate faster downloading.

     r. When a user wishes to share a file, the user adds the file to shared library files

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        (either by downloading a file from another user or by copying any file into the

        shared directory), and the file’s hash value is recorded by the P2P software. The

        hash value is independent of the file name; that is, any change in the name of

        the file will not change the hash value.

     s. Third party software is available to identify the IP address of a P2P computer

        that is sending a file. Such software monitors and logs Internet and local

        network traffic.

     t. “VPN” means a virtual private network. A VPN extends a private network

        across public networks like the Internet. It enables a host computer to send and

        receive data across shared or public networks as if they were an integral part of

        a private network with all the functionality, security, and management policies

        of the private network. This is done by establishing a virtual point-to-point

        connection through the use of dedicated connections, encryption, or a

        combination of the two. The VPN connection across the Internet is technically

        a wide area network (WAN) link between the sites. From a user perspective,

        the extended network resources are accessed in the same way as resources

        available from a private network-hence the name “virtual private network.” The

        communication between two VPN endpoints is encrypted and usually cannot

        be intercepted by law enforcement.

     u. “Encryption” is the process of encoding messages or information in such a way

        that eavesdroppers or hackers cannot read it but authorized parties can. In an

        encryption scheme, the message or information, referred to as plaintext, is

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                  encrypted using an encryption algorithm, turning it into an unreadable

                  ciphertext. This is usually done with the use of an encryption key, which

                  specifies how the message is to be encoded. Any unintended party that can see

                  the ciphertext should not be able to determine anything about the original

                  message. An authorized party, however, is able to decode the ciphertext using

                  a decryption algorithm that usually requires a secret decryption key, to which

                  adversaries do not have access.

               v. “Malware,” short for malicious (or malevolent) software, is software used or

                  programmed by attackers to disrupt computer operations, gather sensitive

                  information, or gain access to private computer systems. It can appear in the

                  form of code, scripts, active content, and other software. Malware is a general

                  term used to refer to a variety of forms of hostile or intrusive software.

 COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC ANALYSIS

       79.     As described above and in Attachment B, this application seeks permission to

search for evidence, fruits, contraband, instrumentalities, and information that might be found on

the TARGET DEVICE, in whatever form they are found. The warrant applied for would authorize

the search of the TARGET DEVICE, or the copying of stored information, under Rule 41(e)(2)(B).

Based on my knowledge, training, and experience, as well as information related to me by agents

and others involved in this investigation and in the forensic examination of digital devices, I

respectfully submit that there is probable cause to believe that the items described in Attachment

B will be stored on the TARGET DEVICE for at least the following reasons:



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     a.   Individuals who engage in criminal activity, including DELUCA, use digital

          devices, like the mobile digital device used by DELUCA during his time at the

          U.S. Capitol on January 6, 2021, to, among other things, store images, videos,

          recordings, documents and records relating to their illegal activity, which can

          include logs of online chats; email correspondence; text or other “Short

          Message Service” (“SMS”) messages.

     b.   Individuals who engage in the foregoing criminal activity, in the event that they

          change digital devices, will often “back up” or transfer files from their old

          digital devices to that of their new digital devices, so as not to lose data,

          including that described in the foregoing paragraph, which would be valuable

          in facilitating their criminal activity.

     c.   Digital device files, or remnants of such files, can be recovered months or even

          many years after they have been downloaded onto the medium or device,

          deleted, or viewed via the Internet. Electronic files downloaded to a digital

          device can be stored for years at little or no cost. Even when such files have

          been deleted, they can be recovered months or years later using readily available

          forensics tools. When a person “deletes” a file on a digital device such as a

          home computer, a smart phone, or a memory card, the data contained in the file

          does not actually disappear; rather, that data remains on the storage medium

          and within the device unless and until it is overwritten by new data. Therefore,

          deleted files, or remnants of deleted files, may reside in free space or slack space

          – that is, in space on the digital device that is not allocated to an active file or

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                    that is unused after a file has been allocated to a set block of storage space – for

                    long periods of time before they are overwritten. In addition, a digital device’s

                    operating system may also keep a record of deleted data in a “swap” or

                    “recovery” file. Similarly, files that have been viewed via the Internet are

                    automatically downloaded into a temporary Internet directory or “cache.” The

                    browser typically maintains a fixed amount of electronic storage medium space

                    devoted to these files, and the files are only overwritten as they are replaced

                    with more recently viewed Internet pages. Thus, the ability to retrieve “residue”

                    of an electronic file from a digital device depends less on when the file was

                    downloaded or viewed than on a particular user’s operating system, storage

                    capacity, and computer, smart phone, or other digital device habits.

       80.     As further described in Attachment B, this application seeks permission to locate

not only electronic evidence or information that might serve as direct evidence of the crimes

described in this affidavit, but also for forensic electronic evidence or information that establishes

how the Devices were used, the purpose of their use, who used them (or did not), and when. Based

on my knowledge, training, and experience, as well as information related to me by agents and

others involved in this investigation and in the forensic examination of digital devices, I

respectfully submit there is probable cause to believe that this forensic electronic evidence and

information will be in the TARGET DEVICE at issue here because:

               a.   Although some of the records called for by this warrant might be found in the

                    form of user-generated documents or records (such as word processing, picture,

                    movie, or texting files), digital devices can contain other forms of electronic

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        evidence as well. In particular, records of how a digital device has been used,

        what it has been used for, who has used it, and who has been responsible for

        creating or maintaining records, documents, programs, applications, and

        materials contained on the Devices are, as described further in the attachments,

        called for by this warrant. Those records will not always be found in digital data

        that is neatly segregable from the hard drive, flash drive, memory card, or other

        electronic storage media image as a whole. Digital data stored on the TARGET

        DEVICE, not currently associated with any file, can provide evidence of a file

        that was once on the storage medium but has since been deleted or edited, or of

        a deleted portion of a file (such as a paragraph that has been deleted from a

        word processing file). Virtual memory paging systems can leave digital data on

        a hard drive that show what tasks and processes on a digital device were

        recently used. Web browsers, e-mail programs, and chat programs often store

        configuration data on a hard drive, flash drive, memory card, or memory chip

        that can reveal information such as online nicknames and passwords. Operating

        systems can record additional data, such as the attachment of peripherals, the

        attachment of USB flash storage devices, and the times a computer, smart

        phone, or other digital device was in use. Computer, smart phone, and other

        digital device file systems can record data about the dates files were created and

        the sequence in which they were created. This data can be evidence of a crime,

        indicate the identity of the user of the digital device, or point toward the

        existence of evidence in other locations. Recovery of this data requires

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          specialized tools and a controlled laboratory environment, and also can require

          substantial time.

     b.   Forensic evidence on a digital device can also indicate who has used or

          controlled the device. This “user attribution” evidence is analogous to the

          search for “indicia of occupancy” while executing a search warrant at a

          residence. For example, registry information, configuration files, user profiles,

          e-mail, e-mail address books, chats, instant messaging logs, photographs, the

          presence or absence of malware, and correspondence (and the data associated

          with the foregoing, such as file creation and last-accessed dates) may be

          evidence of who used or controlled the digital device at a relevant time, and

          potentially who did not.

     c.   A person with appropriate familiarity with how a digital device works can, after

          examining this forensic evidence in its proper context, draw conclusions about

          how such digital devices were used, the purpose of their use, who used them,

          and when.

     d.   The process of identifying the exact files, blocks, registry entries, logs, or other

          forms of forensic evidence on a digital device that are necessary to draw an

          accurate conclusion is a dynamic process. While it is possible to specify in

          advance the records to be sought, digital device evidence is not always data that

          can be merely reviewed by a review team and passed along to investigators.

          Whether data stored on digital devices is evidence may depend on other

          information stored on the devices and the application of knowledge about how

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                    the devices behave. Therefore, contextual information necessary to understand

                    other evidence also falls within the scope of the warrant.

               e.   Further, in finding evidence of how a digital device was used, the purpose of

                    its use, who used it, and when, sometimes it is necessary to establish that a

                    particular thing is not present on the device. For example, the presence or

                    absence of counter-forensic programs, anti-virus programs (and associated

                    data), and malware may be relevant to establishing the user’s intent and the

                    identity of the user.

               f.   I know that when an individual uses a digital device during the commission of

                    an offense, the individual’s device will generally serve as a storage medium for

                    evidence of the crime. From my training and experience, I believe that a digital

                    device used during the commission of a crime of this type may contain data that

                    is evidence of how the digital device was used; data that was sent or received;

                    notes as to how the criminal conduct was achieved; records of Internet

                    discussions about the crime; and other records that indicate the nature of the

                    offense and the identities of those perpetrating it.

               METHODS TO BE USED TO SEARCH DIGITAL DEVICES

       81.     Based on my knowledge, training, and experience, as well as information related to

me by agents and others involved in this investigation and in the forensic examination of digital

devices, I know that:

               a.   Searching digital devices can be an extremely technical process, often

                    requiring specific expertise, specialized equipment, and substantial amounts of

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          time, in part because there are so many types of digital devices and software

          programs in use today. Digital devices – whether, for example, desktop

          computers, mobile devices, or portable storage devices – may be customized

          with a vast array of software applications, each generating a particular form of

          information or records and each often requiring unique forensic tools,

          techniques, and expertise. As a result, it may be necessary to consult with

          specially trained personnel who have specific expertise in the types of digital

          devices, operating systems, or software applications that are being searched,

          and to obtain specialized hardware and software solutions to meet the needs of

          a particular forensic analysis.

     b.   Digital data is particularly vulnerable to inadvertent or intentional modification

          or destruction. Searching digital devices can require the use of precise, scientific

          procedures that are designed to maintain the integrity of digital data and to

          recover “hidden,” erased, compressed, encrypted, or password-protected data.

          Recovery of “residue” of electronic files from digital devices also requires

          specialized tools and often substantial time. As a result, a controlled

          environment, such as a law enforcement laboratory or similar facility, is often

          essential to conducting a complete and accurate analysis of data stored on

          digital devices.

     c.   Further, as discussed above, evidence of how a digital device has been used,

          the purposes for which it has been used, and who has used it, may be reflected

          in the absence of particular data on a digital device. For example, to rebut a

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          claim that the owner of a digital device was not responsible for a particular use

          because the device was being controlled remotely by malicious software, it may

          be necessary to show that malicious software that allows someone else to

          control the digital device remotely is not present on the digital device. Evidence

          of the absence of particular data or software on a digital device is not segregable

          from the digital device itself. Analysis of the digital device as a whole to

          demonstrate the absence of particular data or software requires specialized tools

          and a controlled laboratory environment, and can require substantial time.

     d.   Digital device users can attempt to conceal data within digital devices through

          a number of methods, including the use of innocuous or misleading filenames

          and extensions. For example, files with the extension “.jpg” often are image

          files; however, a user can easily change the extension to “.txt” to conceal the

          image and make it appear as though the file contains text. Digital device users

          can also attempt to conceal data by using encryption, which means that a

          password or device, such as a “dongle” or “keycard,” is necessary to decrypt

          the data into readable form. Digital device users may encode communications

          or files, including substituting innocuous terms for incriminating terms or

          deliberately misspelling words, thereby thwarting “keyword” search techniques

          and necessitating continuous modification of keyword terms. Moreover, certain

          file formats, like portable document format (“PDF”), do not lend themselves to

          keyword searches. Some applications for computers, smart phones, and other

          digital devices, do not store data as searchable text; rather, the data is saved in

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          a proprietary non-text format. Documents printed by a computer, even if the

          document was never saved to the hard drive, are recoverable by forensic

          examiners but not discoverable by keyword searches because the printed

          document is stored by the computer as a graphic image and not as text. In

          addition, digital device users can conceal data within another seemingly

          unrelated and innocuous file in a process called “steganography.” For example,

          by using steganography, a digital device user can conceal text in an image file

          that cannot be viewed when the image file is opened. Digital devices may also

          contain “booby traps” that destroy or alter data if certain procedures are not

          scrupulously followed. A substantial amount of time is necessary to extract and

          sort through data that is concealed, encrypted, or subject to booby traps, to

          determine whether it is evidence, contraband, or instrumentalities of a crime.

     e.   Analyzing the contents of mobile devices can be very labor intensive and also

          requires special technical skills, equipment, and software. The large, and ever

          increasing, number and variety of available mobile device applications generate

          unique forms of data, in different formats, and user information, all of which

          present formidable and sometimes novel forensic challenges to investigators

          that cannot be anticipated before examination of the device. Additionally, most

          smart phones and other mobile devices require passwords for access. For

          example, even older iPhone 4 models, running IOS 7, deployed a type of

          sophisticated encryption known as “AES-256 encryption” to secure and encrypt

          the operating system and application data, which could only be bypassed with

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                   a numeric passcode. Newer cell phones employ equally sophisticated

                   encryption along with alpha-numeric passcodes, rendering most smart phones

                   inaccessible without highly sophisticated forensic tools and techniques, or

                   assistance from the phone manufacturer. Mobile devices used by individuals

                   engaged in criminal activity are often further protected and encrypted by one or

                   more third party applications, of which there are many. For example, one such

                   mobile application, “Hide It Pro,” disguises itself as an audio application,

                   allows users to hide pictures and documents, and offers the same sophisticated

                   AES-256 encryption for all data stored within the database in the mobile device.

       82.     Based on the foregoing, I respectfully submit that searching the TARGET DEVICE

for the information, records, or evidence pursuant to this warrant may require a wide array of

electronic data analysis techniques and may take weeks or months to complete. Any pre-defined

search protocol would only inevitably result in over- or under-inclusive searches, and misdirected

time and effort, as forensic examiners encounter technological and user-created challenges,

content, and software applications that cannot be anticipated in advance of the forensic

examination of the devices. In light of these difficulties, your affiant requests permission to use

whatever data analysis techniques reasonably appear to be necessary to locate and retrieve digital

information, records, or evidence within the scope of this warrant.

       83.     Therefore, in searching for information, records, or evidence, further described in

Attachment B, law enforcement personnel executing this search warrant will employ the following

procedures:



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     a. Law enforcement personnel, consistent with Rule 41(e)(2)(B) of the Federal

        Rules of Criminal Procedure, will search the TARGET DEVICE within the

        scope of this warrant, for information, records, or evidence described in

        Attachment B in an appropriate law enforcement laboratory or similar facility

        for review. The TARGET DEVICE and/or any digital images thereof, created

        by law enforcement sometimes with the aid of a technical expert, in an

        appropriate setting, in aid of the examination and review, will be examined and

        reviewed in order to extract and seize the information, records, or evidence

        described in Attachment B.

     b. The analysis of the contents of the TARGET DEVICE may entail various

        forensic techniques as circumstances warrant. Such techniques may include, but

        shall not be limited to, surveying various file “directories” and the individual

        files they contain (analogous to looking at the outside of a file cabinet for the

        markings it contains and opening a drawer believed to contain pertinent files);

        conducting a file-by-file review by “opening,” reviewing, or reading the images

        or first few “pages” of such files in order to determine their precise contents;

        “scanning” storage areas to discover and possibly recover recently deleted data;

        scanning storage areas for deliberately hidden files; and performing electronic

        “keyword” searches through all electronic storage areas to determine whether

        occurrences of language contained in such storage areas exist that are related to

        the subject matter of the investigation.



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              c. In searching the TARGET DEVICE, the forensic examiners may examine as

                   much of the contents of the digital devices as deemed necessary to determine

                   whether the contents fall within the items to be seized as set forth in Attachment

                   B. In addition, the forensic examiners may search for and attempt to recover

                   “deleted,” “hidden,” or encrypted data to determine whether the contents fall

                   within the items to be seized as described in Attachment B. Any search

                   techniques or protocols used in searching the contents of the TARGET

                   DEVICE will be specifically chosen to identify the specific items to be seized

                   under this warrant.

                                         CONCLUSION

       78.    Pursuant to the Court’s July 2, 2024 order (ECF No. 22) and the Court’s June 27,

2024 oral ruling in Case No. 24-cr-169, I respectfully seek this warrant to search the

TARGET DEVICE.

       79.    Based on the above, I submit that this affidavit supports probable cause for a

warrant to search the TARGET DEVICE, as described in Attachment A, for the things described

in Attachment B.

       80.    Based on the above, I request that the Court issue the proposed search warrant

pursuant to Federal Rule of Criminal Procedure 41.

       81.    I further request that the Court permit the search warrant to be executed at any time

given that the TARGET DEVICE is currently in the possession of the FBI.




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                                              Respectfully submitted,




                                                JUSTIN DAVID WINECOFF
                                                Special Agent
                                                Federal Bureau of Investigation




                                                                           5
Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on July _____, 2024.


       _________________________________________
       CHIEF JUDGE JAMES E. BOASBERG
       UNITED STATES DISTRICT JUDGE




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